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EXHIBIT A
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ASSET PURCHASE AGREEMENT

THIS ASSET PURCHASE AGREEMENT (the “Agreement”) is made and*
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between (a) Impex Inc., d/b/a Impex Auto Sales, a North Carolina corporation (the
“Buyer”) and (b) JRV Group USA L.P., a Delaware limited partnership and debtor and
debtor in possession (the “Seller”) in chapter 11 case number 19-11095 (the “Case”)
pending in the United States Bankruptcy Court for the District of Delaware (the

“Bankruptcy Court”).
RECITALS

A. On May 13, 2019 (the “Petition Date”), the Seller commenced its Case by<
filing a voluntary petition for relief under chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”), The Seller has continued in the possession of its property and
has continued to operate and manage it business pursuant to sections 1107(a) and 1108 of
the Bankruptcy Code. On June 4, 2019, the Office of United States Trustee (“UST”)
appointed an Official Committee of Unsecured Creditors (the “Committee” in the Case.

B. Prior to the Petition Date, the Seller (then named Erwin Hymer Group
USA L.P.) operated as a second-stage original equipment manufacturer and alterer (7.e.,
“upfitter”) of Jeep Wranglers. The Seller would add features to the vehicles, such as a
roof-top tent for camping that would make them more desirable for recreational vehicle
dealers to sell to end users/consumers. To do so, the Seller would remove original parts
and replace them with the Seller’s manufactured or purchased parts. Jeep Wranglers that
were upfitted or expected to be upfitted by the Seller are referred to in this Agreement as
“Upfitted Vehicles,”!

G; The great majority of the Seller’s inventory of Upfitted Vehicles, however,
may not be sold or leased to consumers because they are subject to National Highway
Traffic Safety Administration (“NHTSA”) recalls for being in excess of gross vehicle
weight ratings (known as GVWR) and/or because their roof-top tent may crack and
detach (which have been designated by NHTSA as recalls 19V-190 and 19V-320,
respectively) (the “Recalls”).

D. The Buyer wishes to purchase and the Seller wishes to sell (the “Initial
Sale”): (i) the Upfitted Vehicles listed by vehicle identification number (“VIN”) in
Exhibit A to this Agreement (the “On-Site Upfitted Vehicles”), which are currently
located at the Seller’s premises (the “Premises”); (ii) the parts of the Seller’s dismantled
Upfitted Vehicles set forth in Exhibit B to this Agreement (the “Dismantled Vehicles”);?

' The term Upfitted Vehicle includes the relevant Upfitted Vehicle’s rear seat if removed.
? The term Dismantled Vehicle includes all parts removed from the relevant Dismantled Vehicle.

 

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and (iii) the Seller’s “demo” vehicles, which are Upfitted Vehicles that had been provided
to former employees and others for their use (“Demo Vehicles”) that are currently located
at the Premises, which are listed in Exhibit C to this Agreement (the “On-Site Demo
Vehicles”).

E. Also, the Buyer wishes to purchase and the Seller wishes to sell (each, an
“Additional Sale”): (i) certain of Seller’s vehicle parts that are not from Dismantled
Vehicles, including all factory, takeoff and aftermarket parts as set forth in Exhibit D to
this Agreement (the “Parts”); (ii) all of the Seller’s Upfitted Vehicles listed in Exhibit E
to this Agreement that are turned over or otherwise returned to the Seller by a dealer (the
“Returned Dealer Vehicles”); (iii) all of the Seller’s Demo Vehicles that may be turned
over or otherwise returned to the Seller, which are listed in Exhibit F to this Agreement
(the “Returned Demo Vehicles”); (iv) the Seller’s furniture, fixtures and equipment and
other fixed assets listed in Exhibit G to this Agreement (the “Fixed Assets”); (v) the
Upfitted Vehicles listed in Exhibit H to this Agreement (the “Repurchased Consumer

Vehicles”) which were purchased or will be purchased from consumers as contemplated

by the Bankruptcy Court order designated as Docket No. 79 in the Case (the “Consumer
Vehicles Repurchase Order”); and (vi) the miscellaneous parts listed in Exhibit I to this
Agreement (the “Additional Parts”),

F. Each of the items listed in Exhibits A, B, and C are referred to in this
Agreement as the “Initial Assets,” which will be sold by the Seller and purchased by the
Buyer at the Closing on the Closing Date (as such terms are defined below); each of the
items listed in Exhibits D, E, F, G, H and I are referred to as the “Additional Assets,”
and, collectively, the Initial Assets and any Additional Assets are referred collectively to
as the “Assets.” Collectively, the Initial Sale and all Additional Sales (no matter when
occurring) are referred to collectively as the “Sale”.

 

G. The Buyer agrees to serve as “stalking horse” bidder and the closing of
each Sale (each, a “Closing”) shall be subject to Bankruptcy Court approval after notice
and a hearing on a motion for bidding procedures and sale (the “Bidding Procedures and
Sale Motion”) in form and substance consistent with Sections 8 and 9 of this Agreement
and otherwise reasonably acceptable to the Seller, Buyer, Committee and DIP Lender (as

defined below).

NOW, THEREFORE, the parties to this Agreement (each, a “Party” and,
collectively, the “Parties”) acknowledge the accuracy of the foregoing recitals and
incorporate them in their agreement below, and for good and valuable consideration, the
receipt and sufficiency of which is hereby acknowledged, agree as follows:

1. Sale.

Ll Purchase and Sale of Assets. On the Closing Date (as defined
below) in consideration of the covenants, representations and obligations of Buyer
hereunder, and subject to and upon the terms, conditions, disclaimers and
acknowledgments hereinafter set forth (including, without limitation, those set forth in
Section 6 below), Seller shall sell, assign, transfer, convey and deliver to Buyer, and
Buyer shall purchase from Seller all of Seller’s right, title and interest in the Initial Assets
on an “as is,” “where is” and “with all faults” basis, with no representations or warranties

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that survive Closing. When Additional Assets become available to the Seller (e.g., if an
Upfitted Vehicle is turned over or otherwise returned to the Seller and the Seller has in its
possession the related MSO), Additional Sale dates may be scheduled by the Parties
(after the Seller consults with the Committee and DIP Lender). On one or more
Additional Sale dates, in consideration of the covenants, representations and obligations
of Buyer hereunder, and subject to and upon the terms, conditions, disclaimers and
acknowledgments hereinafter set forth (including, without limitation, those set forth in
Section 6 below), Seller shall sell, assign, transfer, convey and deliver to Buyer, and
Buyer shall purchase from Seller all of Seller’s right, title and interest in the Additional
Assets on an “as is,” “where is” and “with all faults” basis, with no representations or
warranties that survive Closing of such Additional Sale(s).

12 Excluded Assets. The Assets shall be limited to those items
specifically identified or described in Exhibits A, B, and C to this Agreement, and as
and when purchased by the Buyer under this Agreement, any or all of the items
specifically identified or described in Exhibits D, E, F, G, H and I to this Agreement,
which may be at or after the Closing Date. All other property of the Seller’s chapter 11
estate (the “Estate” (i.e., property that is not specifically identified or described in such
exhibits) shall not be included in the Sale, shall not be included in the definition of Assets
and shall remain property of the Estate before and after each Closing (the “Excluded
Assets”).

13 Instruments of Transfer. On the Closing Date, the Sale shall be
made to Buyer by (a) one or more bills of sale in forms acceptable to both Parties, the
Committee and the DIP Lender* (individually or collectively in context, the “Bill of
Sale”) and (b) delivery of the Manufacturer’s Statements of Origin (“MSOs”), also
known as Manufacturer’s Certificates of Origin, for the Upfitted Vehicles and the
Dismantled Vehicles as provided in Section 2.4.

2 Consideration.
2.1 Consideration to Seller.

(a) The cash consideration to be paid by Buyer to Seller for the
Sale of the Initial Assets shall be: (i) $25,009750.00 for each On-Site Upfitted Vehicle
(collectively, the “On-Site Upfitted Vehicles Cash Amount”); (ii) $17,000500.00 for each
Dismantled Vehicle (collectively, the “Dismantled Vehicles Cash Amount”); and (iii)
$25,000750.00 for each On-Site Demo Vehicle (collectively, the “On-Site Demo Vehicles
Cash Amount”) for an aggregate purchase price for the Initial Assets of $7,585,9008 12,250.00
(the “Initial Cash Amount”). Subject to subsection (d) of this Section, the Seller and
Buyer expect that the Buyer will purchase all of the 52 Returned Dealer Vehicles that are
turned over or otherwise returned to the Seller for $25,000750.00 each, reasonably adjusted

 

3 There shall be no minimum number of Additional Assets or related amount of Sale price required for the
scheduling of an Additional Sale date.

* The term “DIP Lender” shall have the definition given to it in the Bankruptcy Court’s interim order in the
Case designated as Docket No. 29. .

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for condition, including (without limitation) mileage (collectively, the “Returned Dealer
Vehicles Cash Amount”), for an estimated aggregate expected purchase price of
$1,300450,000 if all 52 Returned Dealer Vehicles are returned to the Seller and sold to the
Buyer. Also, the cash consideration for the Buyer’s purchase from the Seller of each
Returned Demo Vehicles (collectively, the “Returned Demo Vehicles Cash Amount”)
shall be $25,000750.00, reasonably adjusted for condition, including (without limitation)
mileage. Additionally, the cash consideration to be paid by the Buyer to the Seller for
each Repurchased Consumer Vehicle shall be an amount agreed to in good faith for each
such vehicle.in light of condition, including (without limitation) mileage (collectively, the
“Repurchased Consumer Vehicles Cash Amount”). Further, the cash consideration to be
paid by the Buyer to the Seller for any or all Parts, Additional Parts and Fixed Assets
shall be negotiated by the Parties in good faith in a manner consistent with the terms of
this Agreement for a mutually agreeable price by August 2, 2019 at 11:59 p.m. Pacific
time or if there is no such agreement by such date and time such Additional Assets shall
no longer be part of any Additional Sale under this Agreement and shall remain property
of the Estate. The consideration for the purchase and sale of Additional Assets is
referenced in this Agreement as the “Additional Cash Amount,” and the Initial Cash
Amount and the Additional Cash Amount are collectively referred to in this Agreement
as the “Cash Amount,”°

(b) The Initial Cash Amount for the Initial Sale and the Additional
Cash Amount for each Additional Sale shall be paid at the Closing of each such Sale by
the Buyer to the Seller in immediately available funds, in United States dollars and shall
not be subject to reduction by way of setoff or counterclaim (“Good Funds”), together
with any other amounts Buyer may be required to pay pursuant to the terms and
provisions of this Agreement (collectively, the “Purchase Price”).

 

(c) The Buyer and Seller each acknowledge that the Buyer has
made a $100,000 refundable deposit (the “Initial Deposit”) in connection with the entry
into this Agreement. Within three (3) business days of the execution and delivery of this
Agreement by both Parties, the Buyer shall wire transfer to Seller in Good Funds an
additional deposit of $279,250290.612.00 (the “Additional Deposit”), which is equal to

5 As stated above, the Parties agree to negotiate reasonably and in good faith for Additional Sale(s);+
however, the failure of the Parties to agree on the identity or purchase price for some or all of the
Additional Assets for such Additional Sale(s) shall not affect the obligations of each Party under this
Agreement regarding the Initial Sale. For Parts, Additional Parts or Fixed Assets that were not included in
the Initial Sale, if the Parties do not reach an agreement for the purchase of such Assets by August 2, 2019,
then the Seller shall no longer have any obligation under this Agreement to continue to sell such Assets to
the Buyer. For Returned Dealer Vehicles, Returned Demo Vehicles and Repurchased Consumer Vehicles,
the Seller shall arrange for and pay for transportation of each such vehicle to a dealership of the Buyer,
with such dealership to be chosen reasonably by Buyer. If the Parties do not reach an agreement for the
purchase price of such particular vehicle within ten (10) business days after the Buyer has received
possession of such vehicle at one of its designated dealerships, then the Seller shall no longer have any
obligation under this Agreement to continue to sell such vehicle to the Buyer. If no agreement is reached
during the initial ten (10) day period, then the Buyer shall store such vehicle on behalf of the Seller at such
dealership for up to thirty (30) calendar days at no cost to the Seller.

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five percent (5%) of the Initial Cash Amount ($7,585,860812.250.00) net of the Initial
Deposit ($100,000). The Initial Deposit and Additional Deposit (totaling
$379.250390,612.00) are referred to herein, collectively, as the “Deposit.” The Deposit
shall be held by the Seller in a separate debtor in possession bank account with any other
bidders’ deposits. Upon execution and delivery of this Agreement by the Parties, the
Deposit shall become non-refundable unless: (i) other than while the Buyer remains a
Back-Up Bidder (as defined below), the Buyer is not the successful bidder for the Assets;
or (ii) this Agreement is terminated for any reason other than a breach by the Buyer.

 

(d) The Seller and Buyer hereby agree to the “as is, where is and
with all faults” (as set forth in Section 6) purchase and sale of each Returned Dealer
Vehicle, both pre-initial Closing and for a period of four (4) months post-initial Closing,
provided that (i) no modifications have been made to such Returned Dealer Vehicles
other than modifications performed by the Seller and such modifications are substantially
similar to the Upfitted Vehicles, (ii) there is no material damage to such Returned Dealer
Vehicle; (iii) such Returned Dealer Vehicle has not been owned or registered in any name
other than the applicable dealer and (iv) the mileage on such Returned Dealer Vehicle
does not exceed 500 miles. As stated above, the purchase price for each Returned Dealer
Vehicle shall be $25,000, reasonably adjusted for condition, including (without
limitation) mileage, in cash consideration, which shall be paid promptly upon the Buyer’s
receipt of such Returned Dealer Vehicles from the Seller together with the applicable
Bills of Sale and MSOs duly endorsed for transfer to Buyer in form sufficient to register
the Returned Dealer Vehicles in the name of the Buyer. Buyer is under no obligation to
purchase Returned Dealer Vehicles not meeting the foregoing conditions and any
Returned Dealer Vehicles not meeting the foregoing conditions and, therefore, . not
purchased by Buyer shall not be considered part of the Assets and shall remain property -
of the Estate, Any Returned Dealer Vehicles that are purchased by the Buyer hereunder
shall become Assets, including (without limitation) for the purposes of Section 10.

(e) The Buyer and Seller shall enter into good faith negotiations
with respect to the “as is, where is and with all faults” (as set forth in Section 6) purchase
and sale for cash consideration in amounts to be determined as part of such negotiations
of Returned Demo Vehicles and/or Repurchased Consumer Vehicles that may be
obtained by the Seller pre- or post-initial Closing. The negotiated purchase price for each
such Returned Demo Vehicles and/or Repurchased Consumer Vehicles shall be paid in
cash consideration, which shall be paid promptly upon the Buyer’s receipt of such
vehicles from the Seller together with the applicable Bills of Sale and MSOs or other title
transfer documentation duly endorsed for transfer to Buyer in form sufficient to register
such vehicles in the name of the Buyer. Any such vehicles that are purchased by the
Buyer hereunder shall become Assets, including (without limitation) for the purposes of
Section 10, Subject to the terms of this Section, the Buyer shall be under no obligation to
purchase Returned Demo Vehicles and/or Repurchased Consumer Vehicles. Returned
Demo Vehicles and Repurchased Consumer Vehicles not purchased by Buyer shall not
be considered part of the Assets and shall remain property of the Estate.

(f) At the initial Closing, the Buyer shall assume and thereafter
pay, perform or discharge when due any and all Liabilities (as defined below) arising

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from, in connection with or related to the Assets from and after the Closing Date, or with
respect to any post-Closing Date transfer of any Additional Assets, as of the date of
purchase of such Additional Assets (the “Assumed Liabilities”), For the avoidance of
doubt, from and after the Closing, the Assumed Liabilities shall only be obligations of the
Buyer, and shall not be obligations of the Seller, any of its affiliates or any of its or their
respective equity holders. For the avoidance of doubt, until Closing occurs, all Liabilities .
related to the Assets are Liabilities of Seller and not of any of its affiliates or any of its or

. their respective equity holders. “Liabilities” shall mean all liabilities, claims, damages,

demands, expenses, commitments, obligations, costs and expenses (whether accrued or
not, known or unknown, disclosed or undisclosed, matured or Matar, fixed or
contingent, asserted or unasserted, liquidated or unliquidated).

2.2 Closing Conference. Each Closing shall take place at the offices of
Pachulski Stang Zieh! & Jones LLP, 919 N. Market Street, 17" Floor, Wilmington, DE
19801 (in person or virtually by, e.g., electronic mail and/or telephone or video
conference) or such other place as agreed to by the Parties in writing.

2.3 Closing Date. The initial Closing (which shall include the
purchase and sale of the Initial Assets) shall be held on the date that is no later than three
(3) business days after the last of the closing conditions set forth in Section 3 is satisfied
or waived (other than those conditions that by their terms are to be satisfied at the
Closing, but subject to the satisfaction or waiver of such conditions at the Closing) (the
“Closing Date”). Until this Agreement is either terminated or the Parties have agreed in
writing upon an extended Closing Date, the Parties shall use reasonable best efforts to
satisfy all conditions to Closing and the Sale shall close as soon as such conditions are
satisfied or waived.

2.4 — Seller’s Deliveries to Buyer at the Initial Closing. On the Closing
Date, Seller shall make the following deliveries to Buyer:

2.4.1 The Bill of Sale (which, as stated above, may be one or
more bills of sale) for the Assets purchased on such date.

2.4.2 The MSO for each of the On-Site Upfitted Vehicles, the
On-Site Demo Vehicles and the Dismantled Vehicles, in each case, to be purchased on
the Closing Date, duly endorsed for transfer by the Seller to Buyer in form sufficient to
register all such vehicles in the name of the Buyer.®

2.4.3. A copy of the Bankruptcy Court’s order approving the Sale
and authorizing the Seller to proceed with such Sale containing the terms set forth in
Section 9 (the “Approval Order”) and otherwise in form and substance satisfactory to the
Buyer, Seller, the Committee and the DIP Lender.

© To the extent that the Seller, in its sole discretion, has employee capacity to return On-Site Upfitted
Vehicles and On-Site Demo Vehicles to their upfitted base model, Seller agrees to use reasonable efforts,
with no additional out of pocket cost, to complete such work prior to the Closing Date, without any
obligation or liability therefor.
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2.5 Buyer’s Deliveries to Seller at the Initial Closing. On the Closing
Date, Buyer shall make or cause the following deliveries to Seller:

2.5.1 The Cash Amount with respect to all Assets to be
purchased at the Closing Date (including the- Initial Cash Amount) by wire transfer to the
Seller’s debtor in possession operating account less the Deposit.

2.5.2 A certificate or certificates of insurance evidencing that the
Seller, the Seller’s Chief Restructuring Officer (the “CRO”) and any liquidating trustee
has been added as a named insured on the Buyer’s liability insurance policy or policies,
including, without limitation, covering the product liability post-Sale (the “Liability
Insurance Policy”) that are in effect as of the Closing Date; provided, however, Buyer
shall be obligated to pay any deductible or co-payment and expressly agrees that the
coverage amounts under such Liability Insurance Policy shall not be deemed to limit
Buyer’s obligations to Seller or the other Indemnitees identified in the indemnification
provisions set forth in this Agreement.

2.5.3. Any such other documents, funds or other things
contemplated by this Agreement to be delivered by Buyer to Seller at the Closing.

2.6 Sales, Use and Other Taxes. Any sales, purchases, transfer, stamp,
documentary stamp, use or similar taxes under the laws of the states in which any portion
of the Assets is located, or any subdivision of any such state, which may be payable by
reason of the Sale (“Transfer Taxes”) shall be borne and timely paid by Buyer, with
Buyer either paying the same in full to the applicable authority at the Closing or
providing Seller with assurances in writing (reasonably satisfactory to Seller) of such
timely payment at or prior to the Closing. If Seller would be responsible for remitting the
Transfer Taxes to the applicable authority, then Buyer shall pay or reimburse the amounts
of such Transfer Taxes to the Seller in Good Funds at the Closing. With respect to any
Transfer Taxes, Buyer shall pay to Seller in Good Funds at the Closing the amount
thereof reasonably estimated by Seller to be due and payable in connection with the Sale
and Buyer and Seller shall make an appropriate adjustment between them after the
Closing when the final amount of such taxes has been determined; provided that such
taxes in connection with the Sale shall be borne by the Buyer. The Buyer’s obligations in

 

_ this Section shall survive Closing indefinitely.

2.7. Possession. Right to possession of the Assets shall transfer to
Buyer on the Closing Date. Subject to the provisions of Section 6 below, Seller shall
transfer and deliver to Buyer on the Closing Date all keys, fobs and owner’s manuals to
the Assets in Seller’s possession and control. ,

2.8 Removal of Assets by Buyer. Not later than ten (10) business days
following the later of: (i) the Closing Date or (ii) the payment by the Buyer to the Seller
of the Purchase Price for any Assets (other than as provided in footnote 5 above), Buyer
shall remove, or cause to be removed from the Seller’s premises (the “Premises”), at
Buyer’s sole cost and expense, all of the Assets so purchased in accordance with the
terms hereof. Buyer shall cause the removal of Assets at any time to be accomplished in
such manner as will minimize any damage to the Premises or any other assets of Estate or
any other party having an interest in the Premises or any assets located at the Premises.

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Buyer shall, at Buyer’s sole cost and expense, immediately cause any damage to the
Premises or any other assets resulting from Buyer’s removal, handling, shipping,
disposition or other activities in connection with the Premises to be fully and completely
repaired or restored. As a condition to Buyer’s right to enter upon the Premises to
remove or cause the removal of the Assets, however, Buyer shall provide to Seller a
certificate of insurance which names Seller, the Estate and Seller’s affiliates as additional
insureds and which evidences a general public liability insurance policy (issued by a
reputable insurer, in an amount and otherwise in form and content satisfactory to Seller)
which covers Seller and such other additional insureds against any loss, damage or
Liability as Seller may suffer or incur in connection with Buyer’s removal of the Assets
as contemplated by this Section; provided, however, Buyer shall be obligated to pay any
deductible or co-payment and expressly agrees that the coverage amounts under such
Liability Insurance Policy shall not be deemed to limit Buyer’s obligations to Seller or
the other Indemnitees identified in the indemnification provisions set forth in this
Agreement. As set forth in Section 10 below (and without limiting such Section), the
Buyer holds harmless and indemnifies and shall pay (and shall contribute to) the
Indemnitees (as defined in such Section) for any loss, Liability, claim, damage or expense
(including, without limitation, reasonable attorney’s fees and expense through all levels
of appeal) arising from, in connection with or related to the Buyer’s removal of any of the
Assets from the Premises. It is expressly understood that Buyer shall bear any and all
costs and expenses of shipping and handling the Assets in connection with the transfer of
the Assets to Buyer after the Closing and their removal from the Premises.

3. Conditions Precedent to the Initial Closing,

3.1 Conditions to Seller’s Obligations. Seller’s obligation to. make the+
deliveries required of Seller on the Closing Date and to otherwise consummate the
transactions contemplated herein on the Closing Date shall be subject to the satisfaction
or waiver by Seller of each of the following conditions:

3.1.1 All of the representations and warranties of Buyer
contained herein shall continue to be true and correct at such Closing in all material
respects.

3.1.2 Buyer shall have delivered, or shall be prepared to deliver
at such Closing, all Good Funds and documents required of Buyer to be delivered at such
Closing.

3.1.3 Buyer shall have delivered to Seller appropriate evidence of
all necessary limited liability company action by Buyer in connection with the
transactions contemplated hereby, including, without limitation: (i) certified copies of
resolutions duly adopted by Buyer’s directors, managers and/or members approving the
transactions contemplated by this Agreement and authorizing the execution, delivery, and
performance by Buyer of this Agreement; (ii) a certificate as to the incumbency of
officers of Buyer executing this Agreement and any instrument or other document
delivered in connection with the transactions contemplated by this Agreement; (iii) a
copy of Buyer’s limited liability company operating agreements (as amended or restated)
and any by-laws.

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3.1.4 No order, injunction, judgment, decree, ruling, writ,
assessment or arbitration award (“Order”) of a court, tribunal or governmental authority
shall be in effect in any action, suit or other proceedings pending before any court,
tribunal or governmental authority that restrains or prohibits the consummation of the
transactions contemplated by this Agreement.

3.1.5 Buyer shall have performed or tendered performance in all
material respects of each and every material covenant on Buyer’s part to be performed
which, by its terms, is capable of performance before such Closing.

3.1.6 The Approval Order shall have been entered in the docket
of the Case, which shall be in form and content reasonably satisfactory to Seller,
Committee and DIP Lender, and which shall not be stayed as of the time of such Closing
on the Closing Date.

3.1.7 NHTSA shall have approved, consented to or stated in
writing (which may be electronic, such as by email or in NHTSA’s portal) that it does not
object to a remedy for the Upfitted Vehicles that was proposed to it by the Seller, so long
as such remedy’ shall relieve Seller of any and all potential liability under Sections 30112
and 30165 of title 49 of the United States Code.

3.2 Conditions to Buyer’s Obligations. Buyer’s obligation to make the
deliveries required of Buyer on the Closing Date and to otherwise consummate the
transactions contemplated herein on the Closing Date shall be subject to the satisfaction
or waiver by Buyer of each of the following conditions:

3.2.1 Seller shall have performed or tendered performance in all
material respects of each and every material covenant on Seller’s part to be performed
which, by its terms, is capable of performance before such Closing.

3.2.2 All of the representations and warranties of the Seller
contained herein shall continue to be true and correct at such Closing in all material
respects unless failure to be so true and correct will not have a material adverse effect on
the Assets.

3.2.3. Seller shall have (a) executed and be prepared to deliver to
Buyer the Bill of Sale and (b) be prepared to deliver to Buyer the MSOs, in each case for
the Assets purchased on such date.

3.2.4 No Order of a court, tribunal or governmental authority
shall be in effect in any action, suit or other proceedings pending before any. court,
tribunal or governmental authority that restrains or prohibits the consummation of the
transactions contemplated by this Agreement.®

7 For Sections 3.1.7 and 3.2.6, -the word “remedy” is used in Section 30120 of title 49 of the United States
Code,

8 Provided, however, if the such action, suit or other proceeding shall relate solely to any or all of the
Dismantled Vehicles, the Buyer shall remain obligated to buy the On-Site Upfitted Vehicles and the On-

 

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3.2.5 The Approval Order shall have been entered in the docket
of the Case, which shall be in form and content reasonably satisfactory to Seller,
Committee and DIP Lender, and which shall not be stayed as of the time of Closing on
the Closing Date.

3.2.6 NHTSA shall have approved, consented to or stated in
writing (which may be electronic, such as by email or in NHTSA’s portal) that it does not
object to a remedy for the Upfitted Vehicles that was proposed to it by the Seller.

3.3. Termination. Notwithstanding anything to the contrary contained
herein, this Agreement may be terminated at any time prior to the Closing Date by
written notice from the terminating Party to the other Party only as follows:

3.3.1 by Seller or Buyer if (i) any court of competent jurisdiction
or other governmental authority shall have entered an order permanently restraining,
enjoining or otherwise prohibiting the transactions contemplated by this Agreement, and
such order shall have become final and nonappealable; provided, however, that the Party
seeking to terminate this Agreement pursuant to this subsection shall have used
commercially reasonable efforts to have such order vacated or (ii) the Closing shall not
have occurred on or before the sixty-fifth (65") day (if a business day or if not the next
business day) after the execution and delivery of this Agreement by both Parties (which
date may be extended by the Parties, subject, in the case of Seller, to the consent of the
Committee and the DIP Lender) (the “Outside Date”); provided, however, that the right
to terminate this Agreement under this clause (ii) shall not be available to any Party
whose breach or failure to fulfill any obligation under this Agreement has been the cause
of, or resulted in, the failure of the Closing to be consummated by the Outside Date or if
Buyer is serving as the Back-up Bidder;

3.3.2 by Seller, if (A) Buyer shall have breached in any material
respect any of its representations or warranties or shall have breached or failed to perform
or comply with any of its covenants or agreements in this Agreement in any material
respect; (B) such breach or failure cannot be cured or has not been cured within thirty
(30) days after the giving of written notice by Seller to Buyer specifying such breach or
failure; and (C) such breach or failure, individually or in the aggregate together with all
other such breaches and failures by Buyer, makes or will make the satisfaction of one or
more of the conditions in Section 3.1 impossible; provided, Seller may not terminate this
Agreement pursuant to this clause if Seller is then in breach of this Agreement in any
material respect; and

3.3.3. by Seller or Buyer, upon (i) any announcement by the
Seller at an auction held in accordance with the Bidding Procedures Order (as defined

 

Site Demo Vehicles for which the On-Site Upfitted Vehicles Cash Amount and the On-Site Demo Vehicles
Cash Amount, respectively, would apply for purposes of calculating the Purchase Price, or if only a portion
of the Dismantled Vehicles is subject to such action, suit or other proceeding, then the Dismantled Vehicles
Cash Amount shall be adjusted and/or pro rated, as appropriate, for purposes of calculating the Purchase
Price.

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below) that the final bid of Buyer at such auction is not the successful bid (unless such
bid by Buyer is the Back-up Bid) or (ii) the consummation of an Alternative Transaction.
“Alternative Transaction” means a transaction involving a sale of all or substantially all
of the Assets to a person or persons other than Buyer.

3.4 Effect of Termination.

3.4.1. In the event that this Agreement is validly terminated as
provided herein prior to the Closing Date, then each of the Parties shall be relieved of its
duties, covenants, agreements and obligations arising under this Agreement after the date
of such termination and such termination shall be without liability to Buyer or Seller,
subject to Section 3.4.2 and, to the extent required by the terms hereof, the Deposit shall
be returned to the Buyer as provided herein.

3.4.2 NOTHING IN THIS SECTION 3.4 SHALL RELIEVE
BUYER OR SELLER OF ANY LIABILITY FOR A BREACH OF THIS AGREEMENT
PRIOR TO THE DATE OF TERMINATION; PROVIDED, HOWEVER, THAT
NOTWITHSTANDING ANY PROVISION CONTAINED IN THIS AGREEMENT,
SELLER’S LIABILITY UNDER THIS AGREEMENT FOR ANY AND ALL SUCH
BREACHES SHALL BE LIMITED ONLY TO THE RETURN OF THE DEPOSIT.
THE PARTIES AGREE THAT THE RETURN OF THE DEPOSIT BY SELLER AS
PROVIDED FOR ABOVE IS REASONABLE IN LIGHT OF THE ANTICIPATED OR
ACTUAL HARM CAUSED BY ANY SUCH BREACH PRIOR TO THE DATE OF
TERMINATION OR THE CLOSING BY SELLER, THE DIFFICULTIES OF PROOF
OF LOSS ARISING FROM SUCH BREACH, AND THE INCONVENIENCE OR
INFEASIBILITY OF OTHERWISE OBTAINING AN ADEQUATE REMEDY FOR
SUCH BREACH.

4, Seller’s Representations and Warranties, Seller hereby makes the following
representations and warranties to Buyer:

4.1 Validity of Agreement. Subject to Bankruptcy Court approval,
this Agreement shall constitute the valid and binding obligation of Seller enforceable in
accordance with its terms.

4.2 Organization, Standing and Power. Subject to the applicable
provisions of the Bankruptcy Code, Seller has all requisite corporate power and authority
to execute, deliver and (subject to Bankruptcy Court approval) perform this Agreement
and all writings related thereto,

4.3 Authorization of Seller. The proposed Approval Order sought by
the Seller shall approve the execution-and delivery of this Agreement, the consummation
of the transactions herein contemplated, and authorize the performance of, fulfillment: of
and compliance with the terms and conditions hereof.

4.4 Recall Notices. If the condition set forth in Section 3.1.7 is
satisfied, the recall notices for the Upfitted Vehicles do not preclude the sale of the
Upfitted Vehicles to the Buyer, subject to Bankruptcy Court approval. The Seller agrees
to cooperate with Buyer and NHTSA, as needed, to facilitate Buyer’s compliance with
NHTSA’s requirements but shall not be required to incur any out-of-pocket expenses in

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connection with such cooperation (such agreement to cooperate shall terminate six (6)
months from the Closing Date, unless extended in writing by the Seller after consultation
with the Committee and DIP Lender).

5. Buyer’s Warranties and Representations. Buyer hereby makes the following
representations and warranties to Seller:

5.4 Validity of Agreement. All action on the part of Buyer necessary
for the authorization, execution, delivery and performance of this Agreement by Buyer,
including, but not limited to, the performance of Buyer’s obligations hereunder, has been

taken. This Agreement, when executed and delivered by Buyer, shall constitute the valid .

and binding obligation of Buyer enforceable in accordance with its terms.

5.2 Organization, Standing and Power. Each-ofthe-entities-comprising
the Buyer i isa dimitedtiabiliy_companycorporation duly Gipniize’, ae ae and

has all requisite Himitedtiabititcompanycorporate power and authority fo own, Tense and
operate its properties, to carry on its business as now being conducted and to execute,

deliver and perform this Agreement and all writings relating hereto.

5.3 - Authorization of Buyer. The execution, delivery and performance
of this Agreement and all writings relating hereto by Buyer have been duly and validly
authorized. The execution and delivery of this Agreement, the consummation of the
transactions herein contemplated, and the performance of, fulfillment of and compliance
with the terms and conditions hereof by Buyer do not and will not: (i) conflict with or
result in a breach of the limited liability company operating agreement or by-laws of each
Buyer; (ii) violate any statute, law, rule or regulation, or any order, writ, injunction or
decree of any court or governmental authority; or (iii) violate or conflict with or
constitute a default under any agreement, instrument or writing of any nature to which
each Buyer is a party or by which Buyer or its assets or properties may be bound.

_ 5.4 Financial Capability. Buyer (a) has as of the date hereof, and at
each Closing will have, sufficient funds available to pay the Purchase Price and any
expenses incurred by Buyer in connection with the transactions contemplated by this
Agreement, (b) has as of the date hereof, and at each Closing will have, the resources and
capabilities (financial or otherwise) to perform its obligations hereunder and (c) has not
incurred any obligation, commitment, restriction or Liabilities of any kind, which would
impair or adversely affect such resources and capabilities. After giving effect to this
Agreement and the transactions contemplated hereby, each Buyer will be solvent as of
each Closing.

6. “As Is” Sale. IT IS UNDERSTOOD AND AGREED THAT, EXCEPT AS
EXPRESSLY STATED IN THIS AGREEMENT, SELLER IS NOT MAKING AND
HAS NOT AT ANY TIME MADE ANY WARRANTIES OR REPRESENTATIONS
OF ANY KIND OR CHARACTER, EXPRESS OR IMPLIED, WITH RESPECT TO
THE ASSETS, INCLUDING, BUT NOT LIMITED TO, ANY WARRANTIES OR
REPRESENTATIONS AS TO PHYSICAL CONDITION, REGULATORY
COMPLIANCE, MERCHANTABILITY OR FITNESS FOR A PARTICULAR
PURPOSE. IN FACT, SELLER HAS INFORMED BUYER AND BUYER

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ACKNOWLEDGES AND AGREES THAT THE UPFITTED VEHICLES MAY NOT
BE SOLD OR LEASED TO CONSUMERS BECAUSE THEY ARE SUBJECT TO
ONE OR BOTH OF THE RECALLS, THAT THE SELLER IS NOT PROVIDING ANY
PRODUCT OR SERVICE WARRANTIES FOR ANY OF THE ASSETS AND THAT
SOME OR ALL OF THE ASSETS MAY NOT BE COVERED UNDER ANY
MANUFACTURER’S PRODUCT OR SERVICE WARRANTIES OR ANY OTHER
PRODUCT OR SERVICE WARRANTIES. BUYER ACKNOWLEDGES AND
AGREES THAT, AT EACH CLOSING OR IN CONNECTION WITH ANY LATER
SALE, TRANSFER OR DELIVERY OF ASSETS, SELLER SHALL SELL AND
CONVEY TO BUYER AND BUYER SHALL ACCEPT THE ASSETS “AS IS,
WHERE IS, WITH ALL FAULTS.” BUYER HAS NOT RELIED UPON AND WILL
NOT RELY ON, AND SELLER IS NOT LIABLE FOR OR BOUND BY, ANY
EXPRESS OR IMPLIED WARRANTIES, GUARANTEES, STATEMENTS,
REPRESENTATIONS OR INFORMATION PERTAINING TO THE ASSETS OR
RELATING THERETO MADE OR FURNISHED BY SELLER OR ITS
REPRESENTATIVES TO WHOMEVER MADE OR GIVEN, DIRECTLY OR
INDIRECTLY, ORALLY OR IN WRITING, EXCEPT AS EXPRESSLY STATED
HEREIN. BUYER ALSO ACKNOWLEDGES THAT THE PURCHASE PRICE
REFLECTS AND TAKES INTO ACCOUNT THAT THE ASSETS ARE BEING SOLD
“AS IS, WHERE IS, WITH ALL FAULTS.” BUYER ACKNOWLEDGES TO
SELLER THAT BUYER HAS HAD THE OPPORTUNITY TO CONDUCT SUCH
INSPECTIONS AND INVESTIGATIONS OF THE ASSETS AS BUYER DEEMS
NECESSARY OR DESIRABLE TO SATISFY ITSELF AS TO THE ASSETS AND ITS
ACQUISITION THEREOF, BUYER FURTHER WARRANTS AND REPRESENTS
TO SELLER THAT BUYER WILL RELY SOLELY ON ITS OWN REVIEW AND
OTHER INSPECTIONS AND INVESTIGATIONS IN THIS TRANSACTION AND
NOT UPON THE INFORMATION PROVIDED BY OR ON BEHALF OF SELLER,
OR ITS AGENTS, EMPLOYEES OR REPRESENTATIVES WITH RESPECT
THERETO. BUYER HEREBY ASSUMES THE RISK THAT ADVERSE MATTERS,
INCLUDING, BUT NOT LIMITED TO, LATENT OR PATENT DEFECTS,
ADVERSE PHYSICAL OR OTHER ADVERSE MATTERS, MAY NOT HAVE BEEN
REVEALED BY BUYER’S REVIEW AND INSPECTIONS AND INVESTIGATIONS.

7. Compliance with Laws and Regulations, Buyer acknowledges that the Seller
has received recall notices from NHTSA concerning the Recalls of the Upfitted Vehicles.
Buyer agrees and covenants to (a) satisfy and comply with all of NHTSA’s requirements
in such recall notices and any future recall notices with respect to the Assets; (b) comply
with all applicable laws, rules and regulations in respect of the Assets, including (without
limitation) the National Traffic and Motor Vehicle Safety Act (as amended), related
regulations and NHTSA’s requirements; and (c) ensure that before Buyer sells, leases,
transfers or otherwise disposes of Assets to third parties, such Assets are compliant with
applicable laws, rules and regulations and safe for use. The obligations of the Buyer set
forth in this Section shall survive Closing indefinitely.

8. Bankruptcy Court Approval of Sale Procedures. Within three (3) business
days after the execution and delivery of this Agreement by both of the Parties (which
period may be extended by mutual consent of the Parties in writing, after the Seller has

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consulted with the Committee and DIP Lender), the Seller shall request by the Bidding
Procedures and Sale Motion, and use reasonable good faith efforts to obtain from the
Bankruptcy Court, an order (the “Bidding Procedures Order”) in form and substance
reasonably acceptable to the Seller, Buyer, Committee and DIP Lender that approves the
following bidding procedures and expense reimbursements (the “Bidding Procedures”):
(i) Buyer shall be entitled to receive from the Seller a payment in the amount of $200,000
(the “Break-up Fee and Expense Reimbursement”) in the event that Buyer has complied,
in all material respects, with all agreements, obligations and covenants to be performed
by or on its behalf through the date of termination of this Agreement, the Procedures
Order has been entered and this Agreement is terminated pursuant to Section 3.3.3, which
payment shall be made to the Buyer by the purchaser in an Alternative Transaction
concurrently with the consummation of such third party sale; (ii) all third party offers to
be considered at the hearing (the “Sale Hearing”) on the Bidding Procedures and Sale
Motion shall be in writing accompanied by a deposit (in the form of a cashier’s check,
wire transfer or other cash equivalent) in the amount of five percent (5%) of such third
party’s aggregate bid amount and delivered to the Seller so that it is received by the Seller
no later than four (4) business days prior to the Sale Hearing, together with evidence
satisfactory to Seller in its discretion (after consulting with the Committee and DIP
Lender) of such third party’s financial and operational ability to perform its obligations
under such offer; (iii) no prospective purchaser will be permitted to bid at the Sale
Hearing unless such party has been deemed “financially qualified” by the Seller (after
consultation with the Committee and DIP Lender); (iv) no prospective purchaser who
bids for the Assets at the hearing on Buyer’s acquisition of the Assets shall be entitled to
purchase the Assets unless such prospective purchaser offers to purchase all of the Assets -
for consideration of at least $125,000 greater than the Purchase Price and otherwise on
terms at least as favorable overall to the Seller as those set forth in this Agreement; (v)
after any initial overbid, all further overbids must be in increments of $25,000; (vi) any
bidder that is not an Excluded Purchaser shall be obligated to pay the Consultant’s Fee,
which is a buyer’s premium that is required to be paid to the Consultant (as such terms
Excluded Purchaser, Consultant’s Fee and Consultant are defined in the “Exclusive
Disposition Agreement” that has been designated as Docket No. 85-2 in the Case); and
(vii) the Buyer shall have the right to overbid the highest final bid (subject to additional
bidding by all bidders each time the Buyer overbids a third-party’s final bid). Should
overbidding take place, the Buyer shall have the right, but not the obligation, to
participate in the overbidding and to be approved as the overbidder at the hearing on the
Bidding Procedures and Sale Motion based upon any such overbid. Ifa bidder is not the
successful bidder, but has the next highest or otherwise best qualified bid, then its bid
shall become a Back-up Bid (as defined below), which shall remain open for acceptance
by Seller until the closing of an Alternative Transaction or as otherwise provided for in
the Bidding Procedures Order or the Approval Order, but subject and subordinate in all
respects to the rights of the successful bidder. Notwithstanding anything else to the
contrary herein, the entry of an order of the Bankruptcy Court approving the Bidding
Procedures shall not be a condition precedent to the Buyer’s obligations under this
Agreement, provided that the Sale to Buyer pursuant to the terms of this Agreement is
otherwise approved by the Bankruptcy Court.

 

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9. Bankruptcy Court Approval of Sale. The Bidding Procedures and Sale
Motion shall seek an Approval Order that, if the Buyer is the successful bidder (i)
approves the Sale of the Assets to Buyer on the terms and conditions set forth in this
Agreement and authorizes the Seller to proceed with the Sale, (ii) includes a specific
finding that Buyer is a good faith purchaser of the Assets, and (iii) states that the sale of
the Assets to Buyer shall be free and clear of liens, claims, interests and encumbrances
(other than any Assumed Liabilities), Following the filing of the Bidding Procedures and
Sale Motion, Buyer and Seller shall use commercially reasonable efforts to obtain the
Approval Order. Both Buyer’s and Seller’s obligations to consummate the transactions
contemplated in this Agreement and which the Buyer and Seller may hereafter enter into
shall be conditioned upon the Bankruptcy Court’s entry of the Approval Order and such
order remaining unstayed. If a third party purchaser for the Assets or any material
portion thereof is approved by the Bankruptcy Court at the Sale Hearing as the successful
bidder, then this Agreement shall automatically terminate, the Seller and the Buyer shall
be relieved of any further liability or obligation hereunder other than the Seller’s return of
the Deposit to the Buyer within three (3) business days after the later of the Sale Hearing
or the date the Buyer’s bid is no longer a Back-up Bid (as defined below) and, to the
extent payable in accordance with the terms hereof, payment .of Break-up Fee and
Expense Reimbursement to the Buyer within three (3) business days after closing of the
Alternative Transaction. In the event that a third party (an “Upset Purchaser” and the
underlying agreement between the Upset Purchaser and Seller, the “Upset Agreement”) is
approved by the Bankruptcy Court as the purchaser of the Assets at the Sale Hearing,
however, notwithstanding anything to the contrary in this Agreement, this Agreement
shall not terminate, but rather shall become a “Back-up Bid” which shall remain open for
acceptance by Seller until the closing of an Alternative Transaction or as otherwise
provided for in the Bidding Procedures Order or Approval Order, but subject and
subordinate in all respects to the rights of the Upset Purchaser under the Upset
Agreement. :

10. Indemnification and Contribution. Provided that the Closing occurs in favor
of the Buyer, Buyer hereby holds harmless and indemnifies and agrees to pay the Seller,
the members of the Committee, any liquidating trustee on behalf of creditors, DIP Lender
and the Prepetition Lenders (as such term is defined in the motion designated as Docket
No. 7 in the Case), CRO, directors, officers, employees, equityholders and their
respective staff, professionals and affiliates (each an “Indemnitee” and collectively the
“Indemnitees”) for any loss, Liability, claim, damage, expense (including without
limitation reasonable attorneys’ fees and expenses through all levels of appeal)
(collectively, a “Claim”) suffered or incurred by an Indemnitee arising from, in
connection with or related to any Asset on or after the Closing Date, or with respect to
any post-Closing Date transfer of any Additional Assets, as of the date of such transfer
(collectively, an “Indemnified Claim”), including, without limitation, any such losses,
Liabilities, claims, damages and expenses arising from, in connection with or related to
(i) any person injured or killed in or by an Asset; (ii) any person or entity that suffered
any property damage caused by an Asset; (iii) a third party who purchases or purchased
an Asset from the Buyer (or any affiliates); (iv) any subsequent purchaser of such an
Asset; (v) NHTSA or other regulatory or legal body; or (vi) any insurer, lender or other

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claimholder with respect to any of the foregoing. To defend any Indemnified Claim, the
Buyer shall select counsel that is reasonably acceptable to the relevant Indemnitees.
Buyer hereby fully and finally irrevocably releases the Indemnities from any and all
Indemnified Claims. If the indemnification provided for in this Agreement is unavailable
to an Indemnitee for any reason whatsoever then, to the fullest extent permissible under
applicable law and public policy, the Buyer, in licu of indemnifying Indemnitee, shall
contribute to the amount incurred by Indemnitee, whether for judgments, fines, penalties,
excise taxes, amounts paid or to be paid in settlement and/or for expenses, in such
proportion as is deemed fair and reasonable in light of all of the circumstances of such
proceeding in order to reflect (i) the relative benefits received by the Buyer and
Indemnitee as a result of the event(s) and/or transaction(s) giving cause to such
proceeding; and/or (ii) the relative fault of the Buyer (and its directors, officers,
employees and agents) and Indemnitee in connection with such event(s) and/or
transaction(s). For clarification, as set forth in Section 2.8 above (and without limiting
such Section or this Section), the Buyer holds harmless and indemnifies (and shall

contribute to) and pay the Indemnities regarding any loss, Liability, claim, damage or -

expense (including, without limitation, reasonable attorney’s fees and expense through all
levels of appeal) arising from, in connection with or related to the Buyer’s removal of any
of the Assets from the Premises. -Also for clarification, Buyer agrees that the coverage
amounts under its Liability Insurance Policy or any other insurance shall not be deemed
to limit Buyer’s obligations to the Indemnitees under this Section.

11. Named Insured. The Buyer shall add the Seller, CRO and any liquidating
trustee (and any of the entities comprising the Buyer that are not named insureds) as a
named insured on the Buyer’s Liability Insurance Policy that are in effect as of the
Closing Date and any future similar policies. The Buyer shall be obligated to pay any
deductible or co-payment. The Buyer agrees that the coverage amounts under such
Liability Insurance Policy or similar policies shall not be deemed to limit Buyer’s
indemnification and contribution obligations to Indemnitees.

12. Miscellaneous.

12.1 Damage and Destruction. Seller shall notify Buyer immediately of
the occurrence of any damage to or destruction of any material Assets that occurs prior to
the Closing Date, or the institution or maintenance of any condemnation or similar
proceedings with respect to the Assets. In the event of any damage to or destruction of
any material Assets which is not fully covered by insurance, or in the event any such
condemnation or other proceedings are instituted or maintained, Buyer shall still be
obligated to purchase the undamaged Assets and, at its option, may either (i) terminate
this Agreement as to the damaged or destroyed assets, or (ii) consummate the purchase of
such damaged or destroyed Assets provided -for by this Agreement. In all other events or
in the event that Buyer elects to consummate the purchase pursuant to (ii) above, all
insurance or condemnation proceeds, including business interruption and rental loss
proceeds, collected by Seller prior to the Closing Date with respect to the damaged or
destroyed Assets, together with an amount equal to all deductible amounts under the
insurance policies covering such damage or destruction and amounts not covered by
insurance (which amounts shall be agreed upon in good faith by Seller and Buyer and

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approved by the Bankruptcy Court), shall be credited against the Cash Amount on
Buyer’s account. Notwithstanding anything to the contrary herein, the risk of loss or
damage to the Assets shall shift to the Buyer on the Closing Date, irrespective of where
the Assets are located as of such date and whether Buyer has yet removed or had the
opportunity to remove the Assets.

12.2 Modification of Assets. The Seller does not plan to modify any
Assets; however, if the Seller materially and adversely modifies any of the Assets
between the date of execution and delivery of this Agreement by the Buyer and Closing,
such materially and adversely modified Assets shall no longer be “Assets” and shall be

_ excluded from the Sale, with the Purchase Price proportionally adjusted.

12.3. Notice of Certain Events. The Buyer and Seller shall notify the
other promptly of the receipt (for the Seller, by its CRO) of any notice or communication
(whether written or verbal) at any time asserting or threatening any and all losses,
Liabilities, claims, damages and expenses by or on behalf of: (a) any person injured or
killed in or by an Asset; (b) any person or entity that suffered any property damage
caused by an Asset; (c) a third party who purchases or purchased an Asset from the Seller
or Buyer (or any affiliates); (d) any subsequent purchaser of such an Asset; (€) NHTSA
or other regulatory or legal body; or (f) any insurer, lender or other claimholder with
respect to any of the foregoing. The Seller’s obligations under this Section shall
terminate upon the conversion of the Case to a case under chapter 7 of the Bankruptcy
Code or the effective date of any chapter 11 plan; however, any chapter 11 plan proposed
by the Seller shall provide that if there is a liquidating trustee, such liquidating trustee
shall provide the notice of such threats it receives to the Buyer listed herein.

12.4 Attorneys’ Fees. In the event that either Party hereto brings an
action. or other proceeding to enforce or interpret the terms and provisions of this
Agreement, the prevailing Party in that action or proceeding shall be entitled to have and
recover from the non-prevailing Party all such fees, costs and expenses (including,
without limitation, all court costs and reasonable attorneys’ fees through all levels of
appeal) as the prevailing Party may suffer or incur in the pursuit or defense of such action
or proceeding.

12.5 Notices. Unless otherwise provided herein, any notice, tender, or
delivery to be given hereunder by either Party to the other may be effected by personal
delivery in writing, or by registered or certified mail, postage prepaid, return receipt
requested or electronic mail, and shall be deemed communicated as of the date of
mailing. Mailed notices shall be addressed as set forth below, but each Party may change
his address by written notice in accordance with this paragraph.

To Seller: JRV Group USA L.P.. .
4502 Brickell Privado
Ontario, CA 91761
Attn: Andrew De Camara,
Chief Restructuring Officer
(ad@sherwoodpartners,com)

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With a copy to: Pachulski Stang Zieh] & Jones LLP
10100 Santa Monica Blvd., 13" Floor
Los Angeles, CA 91377
Attn: Jeffrey W. Dulberg (jdulberg&pszjlaw.com)
Robert M. Saunders (1saunders@pszjlaw.com)
and
Pachulski Stang Zichl & Jones LLP
919 N. Market Street, 17" Floor
P.O. Box 8705
Wilmington, DE 19899 (Courier 19801)
Attn: Colin R. Robinson (crobinson@pszjlaw.com)

 

To Buyer: bren-GeelttAntomotive bh
d/b/a Ken mn Garel Automotive Grouplmpes Inc.

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thistle teep Ramlmpex Auto Sales
4+4-East Breadwas,-Suite 9003512 S, Holden St.

Salt Lake Cit UT eAiit
YS t—O+T+t

Greensburo, NC 27407

 

Attn: Michael Creer-GnikeeekengarHBrady Gibson
(brady.gibson@impexautosales.com)
With a copy to: Bennet Fueller Johnson-andDeereGellert Scali

Busenkell & Brown, LLC

3165 East Milreck Drivel 201 N. Orange Street,
Suite 500300

Salt Lake- City UF 84421 Wilmington, DE 19801

Attn: Bars;Johnsen-bjohnsonebtid con) Michael
Busenkell, Esq.

 

12.6. Entire Agreement, This instrument and the documents to be+------ { Formatted: Justified

 

executed pursuant hereto contain the entire agreement between the Parties relating to the
sale of the Assets; provided, however, that nothing in this Section shall be deemed to
affect, modify, waive or merge any of the Parties’ obligations to each other pursuant to
any existing nondisclosure agreement to which they or their affiliates may be a Party.
Any oral representations or modifications concerning this Agreement or any such other
document shall be of no force and effect excepting a subsequent modification in writing,
signed by the Party to be charged.

12.7 Modification. This Agreement may be modified, amended or
supplemented only by a written instrument duly executed by all the Parties hereto.

12.8 Actions on Closing Date Are Simultaneous. All actions to be.
taken on the Closing pursuant to this Agreement shall be deemed to have occurred

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simultaneously, and no act, document or transaction shall be deemed to have been taken,
delivered or effected until all such actions, documents and transactions have been taken,
delivered or effected.

12.9 Severability. Should any term, provision or paragraph of this
Agreement be determined to be illegal or void or of no force and effect, the balance of the
Agreement shall survive.

12.10 Captions and Footnotes. All captions and headings contained in
this Agreement are for convenience of reference only and shall not be construed to limit
or extend the terms or conditions of this Agreement. All footnotes are intended to be part
of the enforceable provisions of this Agreement.

12.11 Access to Certain Documents and Records, At reasonable written
request of the Buyer, the Seller shall provide the Buyer with copies of (or electronic
access to, such as in a virtual data room or otherwise) documents and records in the
CRO’s possession or control relating to the ownership of the Assets, upfitting of Upfitted
Vehicles and the Recalls, subject to the existing nondisclosure agreement between the
Parties, but shall not be required to incur any out-of-pocket expenses in connection
therewith, Such agreement to provide access to such documents and records shall
terminate on the earliest of: (a) the effective date of a chapter 11 plan for the Seller; (b)
the conversion of the Case to a case under chapter 7 of the Bankruptcy Code; or (c) six
(6) months after the Closing Date, unless extended in writing by the Seller, in its sole
discretion, after consultation with the Committee and DIP Lender; however, the Buyer
may hold any copies previously provided by the Seller, subject to the nondisclosure
agreement..

12.12 ‘Further Assurances. Each Party hereto will execute, acknowledge
and deliver any further assurance, documents and instruments reasonably requested by
any other Party hereto for the purpose of giving effect to the transactions contemplated
herein or the intentions of the Parties with respect thereto; provided, however, that
subject to the terms of this Agreement, none of the foregoing shall require any Party take
any action that it reasonably believes would increase its Liabilities or responsibility, or
adversely affect its rights under this Agreement or applicable law. .

12.13 Waiver. No waiver of any of the provisions of this Agreement
shall be deemed, or shall constitute, a waiver of other provisions, whether or not similar,
nor shall any waiver constitute a continuing waiver. No waiver shall be binding unless
executed in writing by the Party making the waiver.

12.14 Brokerage Obligations. The Seller and the Buyer each represent
and warrant to the other that, such Party has incurred no Liability to any broker or agent
with respect to the payment of any commission regarding the consummation of the
_ transaction contemplated hereby, except by the Seller as set forth in Section 6.E of the
Exclusive Disposition Agreement for three (3%) of the gross sale amount (as such
calculation is made under the terms of the Exclusive Disposition Agreement). It is
agreed that if any claims for commissions, fees or other compensation, including, without
limitation, brokerage fees, finder’s fees, or commissions are ever asserted against Buyer
or the Seller in connection with this transaction, all such claims shall be handled and paid

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by the Party whose actions form the basis of such claim and such Party shall indemnify,
defénd (with counsel reasonably satisfactory to the Party entitled to indemnification),
protect and save and hold the other harmless from and against any and all such claims or
demands asserted by any person, firm or corporation in connection with the transaction
contemplated hereby.

12.15 Payment of Fees and Expenses. Except otherwise set forth herein,
each Party to this Agreement shall be responsible for, and shall pay, all of its own fees
and expenses, including those of its counsel, incurred in the negotiation, preparation and
consummation of the transaction described herein.

12.16 Survival. All representations and warranties in this Agreement,
and the covenants, agreements and obligations in this Agreement that are to be performed
at or before any Closing, shall not survive such Closing and the consummation of the
transactions contemplated hereby, and none of the Parties shall have any Liability to each
other after such Closing for any breach thereof. The Parties agree that the covenants,
agreements and obligations contained in this Agreement to be performed after any
Closing shall survive such Closing, and, subject to the terms of this Agreement
(including, without limitation, Sections 12.27 and 12.29), each Party shall be liable to the
other after such Closing for any breach thereof.

12.17 Assignments. This Agreement shall not be assigned by either
Party hereto without the prior written consent of the other Party hereto; provided,
however, that this Agreement shall automatically inure to the benefit of any successor to
the Seller under the Bankruptcy Code (including, but not limited to any chapter 7 trustee,
liquidating trustee, or the like), and any such successor to the Seller under the Bankruptcy
Code shall have the same rights as the Seller to enforce this Agreement.

12.18 Binding Effect, Subject to the provisions of the immediately
preceding Section, this Agreement shall bind and inure to the benefit of the respective
heirs, personal representatives, successors, and assigns of the Parties hereto.

12.19. No Third Party Beneficiaries. The provisions of this Agreement
have been negotiated and entered into in exchange for the consideration described herein
for the sole benefit of the Parties, as well as the persons and entities that have express
rights under this Agreement, including (without limitation) in Sections 2.5.2, 10, 11 and
12.27. Except as expressly set forth herein or with respect to Sections 2.5.2, 10, 11 and
12.27, there shall be no third party beneficiaries of this Agreement. No creditor of Seller
(other than the DIP Lender and Indemnitees), or purchaser or other transferee of the
Assets, shall have any right (a) to assert any direct or indirect claim or suit against Buyer
under any provisions of this Agreement, including without limitation Sections 2.5.2, 10,
11 or 12.27, or (b) to reference the provisions of this Agreement as evidence of an
assumption of any Liability or legal duty not otherwise existing independent of this
Agreement.

 

 

12.20 Applicable Law. This Agreement shall be governed by and
construed in accordance with the internal laws of Delaware, without regard to its choice
of law principles.

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12.21 Good Faith. All Parties hereto agree to do all acts and execute all
documents required to carry out the terms of this Agreement and to act in good faith with
respect to the terms and conditions contained herein before and after Closing.

12.22 Construction, In the interpretation and construction of this
Agreement, the Parties acknowledge that the terms hereof reflect.extensive negotiations
between the Parties and that this Agreement shall not be deemed, for the purpose of
construction and interpretation, drafted by either Party hereto.

12.23 Counterparts. This Agreement may be signed in counterparts. The
Parties further agree that this Agreement may be executed by the electronic exchange of
facsimile signature pages signed electronically provided that by doing so the Parties agree
to undertake to provide original signatures as soon thereafter as reasonable in the
circumstances.

_ 12,24 Time is of the Essence. Time is of the essence in this Agreement,
and all of the terms, covenants and conditions hereof.

12.25 Bankruptcy Court Jurisdiction and Venue. BUYER AND
SELLER AGREE THAT THE BANKRUPTCY COURT SHALL HAVE EXCLUSIVE
JURISDICTION AND EXCLUSIVE VENUE OVER ALL DISPUTES AND OTHER
MATTERS RELATING TO (i) THE INTERPRETATION AND ENFORCEMENT OF
THIS AGREEMENT OR ANY ANCILLARY DOCUMENT EXECUTED PURSUANT
HERETO; AND/OR (ii) THE ASSETS AND/OR ASSUMED LIABILITIES, AND
BUYER EXPRESSLY CONSENTS TO AND AGREES NOT TO CONTEST SUCH
EXCLUSIVE JURISDICTION OR EXCLUSIVE VENUE.

12.26 Service of Process. To the fullest extent permitted by Delaware
law, each of the Parties hereby consents to process being served by any Party in any suit,
action or proceeding by delivery of a copy thereof in accordance with the provisions of
Section 12.5.

12.27 Non-Recourse. No past, present or future director, officer,
employee, agent, advisor, incorporator, member, manager, partner, creditor, equity
holder, stockholder, interest holder or other non-Seller affiliate of Seller shall have any
Liability for any obligations or Liabilities of Seller under this Agreement or for any claim
based on, in respect of, or by reason of, the transactions contemplated by this Agreement.
Without limiting the foregoing, Buyer acknowledges that Andrew De Camara is entering
into this Agreement solely in his capacity as representative of the Estate (and not in his
individual or any other capacity) and that in the event of Seller’s or Mr, De Camara’s
default hereunder or under any document or instrument executed in furtherance of the
transaction contemplated herein, neither Mr. De Camara nor Sherwood Partners, Inc.
(which appointed Mr. De Camara as CRO pursuant to the Bankruptcy Court order
designated as Docket No. 72 in the Case) shall have no personal or other liability, it being
expressly understood that Buyer’s recourse in any such event shall be limited solely to
filing a claim against the Estate in the Case.

12.28 Injunctive Relief. Each Party agrees that any breach of this
Agreement would constitute irreparable harm and damages at law are an inadequate

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remedy for the breach of any of the covenants, promises and agreements contained in this
Agreement, and, accordingly, either Party is entitled to injunctive relief with respect to
any such breach, including specific performance of such covenants or obligations or an
order enjoining a Party from any: threatened, or from the continuation of any actual,
breach of the covenants or obligations contained 'in this Agreement. Each Party hereby
waives any requirement for the securing or posting of any bond in connection with any
such injunctive relief. The rights set forth in this Section shall be in addition to any other
rights that a Party may have at law or in equity pursuant to this Agreement.

12.29 Limitations on Liability.

; 12.29.1 Waiver of Claims. IF THE CLOSING OCCURS,
BUYER SHALL BE DEEMED TO HAVE WAIVED, AND HEREBY WAIVES, IN
FULL ANY BREACH OF, AND CLAIMS ARISING THEREFROM, ANY OF
SELLER’S REPRESENTATIONS © OR WARRANTIES, COVENANTS,
AGREEMENTS OR OBLIGATIONS THAT ARE TO BE PERFORMED AT OR
BEFORE THE CLOSING, WHETHER OR NOT BUYER IS AWARE OF, OR
BECOMES AWARE OF, SUCH BREACH BEFORE, AT OR AFTER THE CLOSING,

12.29.2 Maximum Liability. NOTWITHSTANDING ANY
OTHER PROVISION IN THIS AGREEMENT, IF THE CLOSING OCCURS, IN NO
EVENT SHALL SELLER’S AGGREGATE LIABILITY FOR LOSSES ARISING OUT
OF OR RELATING TO THIS AGREEMENT, THE TRANSACTION DOCUMENTS
OR THE TRANSACTIONS, WHETHER RELATING TO A BREACH OF A
REPRESENTATION. AND WARRANTY, COVENANT, AGREEMENT OR
OBLIGATION IN THIS AGREEMENT AND WHETHER BASED ON CONTRACT,
TORT, STRICT LIABILITY, OTHER LAWS OR OTHERWISE, EXCEED TEN (10)
PERCENT OF THE CASH AMOUNT (“SELLER’S LIABILITY CAP”); PROVIDED,
HOWEVER, THAT, SUCH LIMITATION ON LIABILITY SHALL NOT APPLY TO
ANY SUCH LOSSES RESULTING FROM, ARISING OUT OF OR RELATING TO
ANY FEES AND EXPENSES OWED TO ANY PERSON WHO HAS ACTED,
DIRECTLY OR INDIRECTLY, AS A BROKER, FINDER OR FINANCIAL ADVISOR
TO SELLER IN CONNECTION WITH THE TRANSACTIONS CONTEMPLATED
BY THIS AGREEMENT (WHICH LOSSES SHALL BE LIMITED TO THE ACTUAL
DOLLAR AMOUNT OF SUCH FEES AND EXPENSES). THE PARTIES AGREE
THAT SELLER’S LIABILITY CAP IS AN AMOUNT THAT IS REASONABLE IN
LIGHT OF THE ANTICIPATED OR ACTUAL HARM CAUSED BY ANY SUCH
BREACH CONTEMPLATED ABOVE, THE DIFFICULTIES OF PROOF OF LOSS
ARISING FROM SUCH BREACH, AND THE INCONVENIENCE OR
INFEASIBILITY OF OTHERWISE OBTAINING AN ADEQUATE REMEDY FOR
SUCH BREACH.

12.29.3 Limitation of Damages. NOTWITHSTANDING ANY
OTHER PROVISION IN THIS AGREEMENT, NO PARTY SHALL BE LIABLE FOR
SPECIAL, PUNITIVE, EXEMPLARY, INCIDENTAL, CONSEQUENTIAL OR
INDIRECT DAMAGES (INCLUDING LOSS OF REVENUE, INCOME OR PROFITS
BUT ONLY TO THE EXTENT THE SAME ARE NOT DIRECT DAMAGES),
DIMINUTION OF VALUE OR LOSS OF BUSINESS REPUTATION OR

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OPPORTUNITY OF ANY OTHER PARTY OR ANY OF SUCH PARTY’S
AFFILIATES, WHETHER BASED ON CONTRACT, TORT, STRICT LIABILITY,
OTHER LAW OR OTHERWISE; PROVIDED, HOWEVER, THAT SUCH
LIMITATIONS SHALL NOT LIMIT ANY PARTY’S RIGHT TO RECOVER
CONTRACT DAMAGES IN CONNECTION WITH THE OTHER PARTY’S
FAILURE TO CLOSE IN VIOLATION OF THIS AGREEMENT.

 

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IN WITNESS WHEREOF, the Parties hereto have executed this Agreement as of the

day and year first above written,

-KEN-GARFF AUTOMOTIVE, LLG,

 

 

Impex Auto Sales,

IMPEX INC. d/b/a Utahtimitectiablitcompany

a North Carolina Corporation

 

 

By:
Name:
Its:
KEN GARFFENTERPRISES-LLG,

 

 

 

 

 

JRV GROUP USA L.P., a Delaware limited
partnership and debtor and debtor in possession

 

By:

Name: Andrew De Camara

Its; Chief Restructuring OfAOfficer
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